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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


State of Texas

v.                                                Case Number: 6:21−cv−00003

United States of America, et al.




                                   Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Judge Drew B Tipton
PLACE:
Martin Luther King, Jr., Federal Building
312 S. Main
Victoria, TX 77901


DATE: 1/22/2021
TIME: 04:00 PM
TYPE OF PROCEEDING: Motion Hearing


Date: January 22, 2021                                       Nathan Ochsner, Clerk
